               Case
AO, 106 (Rev. 04/10)   2:20-mj-08616-RBM
                     Application for a Search Warrant    Document 1 Filed 02/18/20 PageID.1 Page 1 of 20


                                     UNITED STATES DISTRICT COUR                                                    FILED
                                                                     for the
                                                         Southern District of California
                                                                                                                      FEB 1 8 2020
                                                                                                              CLERK. U.S. 0!STRICT COURT
             In the Matter of the Search of                                                                SOUTHERN          .T OF CALIFORNIA
                                                                        )                                 BY                           DEPUTY
         (Briefly describe the property to be searched                  )
          or identify the person by name and address)                   )           Case No.
                 (1) blue Samsung J? phone                              )
                                                                        )
                 IMEI No: 355865104056194
                                                                        )                      20MJ8G16                   "I

                                           APPLICATION FORA SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):

 See Attachment A-1.
                   Southern
located in the - - -        District of                                     California           , there is now concealed (identify the
                     -----                                   ------------
person or describe the property to be seized):
 See Attachment B-1.


          The basis for the search under Fed. R. Crim. P. 4l(c) is (check one or more):
                 ~ evidence of a crime;
                 0 contraband, fruits of crime, or other items illegally possessed;
                 ~ property designed for use, intended for use, or used in committing a crime;
                 0 a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
            Code Section                                                          Offense Description
        8 USC 1324                                Transportation of Illegal Aliens
        8 USC 1325                                Improper Entry by an Alien

          The application is based on these facts:
        See attached affidavit of John Ortiz, USBP Agent

           ~ Continued on the attached sheet.
           0 Delayed notice of _ _ days (give exact ending date if more than 30 days: _ _ _ _ _ ) is requested
             under 18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.



                                                                                                 A ~
                                                                                                  L..-·-····
                                                                                               John Ortiz, USBP Agent
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.


Date:


City and state: El Centro, California                                         Hon. Ruth Bermudez Montenegro, U.S. Magistrate Judge
                                                                                                 Printed name and title
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                            ATTACHMENT A-1
                        PROPERTY TO BE SEARCHED

The following property is to be searched:
                         One blue Samsung J7 phone
                         IMEINo:355865104056194
                         Seized from YEPIZ-Fonseca, Christian

Target Device 1, seized in connection with Event No: CAX2001000252, is currently
in the evidence room for El Centro Border Patrol, located at 211 West Aten Road,
Imperial, CA 92251.
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                                   ATTACHMENT B-1
                                  ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A-1 includes
the search of disks, memory cards, deleted data, remnant data, slack space, and temporary
or permanent files contained on or in the cellular telephone for evidence described below.
The seizure and search of the cellular telephone shall follow the search methodology
described in the affidavit submitted in support of the warrant.

       The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from various
third-party applications, photographs, audio files, videos, and location data, for the period
of December 27, 2019 through January 27, 2020:

       a.    tending to indicate efforts to bring undocumented aliens into the United
             States and transport aliens within the United States;

       b.    tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate efforts to bring undocumented aliens into the United States and
             transport aliens within the United States;

       c.    tending to identify co-conspirators, criminal associates, or others
             involved in bringing undocumented aliens into the United States and
             transporting aliens within the United States;

       d.    tending to identify travel to or presence at locations involved in the
             transportation of undocumented aliens, such as stash houses, load
             houses, or delivery points;

       e.    tending to identify the user of, or persons with control over or access
             to, the Target Device; or

       f.    tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records,
             or data involved in the activities described above.


All believed to be evidence of violations of Title 8, United States Code, Sections 1324
and 1325.
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  1                                      AFFIDAVIT
  2        I, Agent John Ortiz, after being duly sworn, hereby state as follows:
  3                                     INTRODUCTION
  4        1.    I submit this affidavit in support of an application for warrants to search
  5 the following electronic devices:
  6
                        One blue Samsung J7 phone
  7                     IMEINo:355865104056194
                        Seized from YEPIZ-Fonseca, Christian
  8
                        (Target Device 1)
  9
                        One blue Motorola G7 phone
 10
                        IMEINo:359527094686507
 11                     Seized from YEPIZ-Fonseca, Christian
                        (Target Device 2)
 12
 13                     One gold Samsung phone
                        Seized from DURAN-Martinez, Yesenia Jasmine
 14                     (Target Device 3)
 15
                        One black Motorola XT1921-3 phone
 16                     IMEINo:351841092832957
                        Seized from RIOS-Romero, Alejandro
 17
                        (Target Device 4)
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 19 as further described in Attachments A-1, A-2, A-3, and A-4, and seize evidence of
20 crimes, specifically violations of Title 8, United States Code, Section 1324 and 1325 as
21 further described in Attachments B-1, B-2, B-3, and B-4. The requested warrants relate
22 to the investigation and prosecution of Christian YEPIZ-Fonseca (YEPIZ), Yesenia
23 Jasmine DURAN-Martinez (DURAN), and Alejandro RIOS-Romero (RIOS) for the
 24 transportation of illegal aliens within the United States. The Target Devices are
. 25 currently in the evidence room for El Centro Border Patrol, located at 211 West Aten
 26 Road, Imperial, CA 92251.

 27         2.    The information contained in this affidavit is based upon my trai!ling,
 28   experience, investigation, and consultation with other members of law enforcement.

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 1 Because this affidavit is made for the limited purpose of obtaining a search warrants
 2   for the Target Devices, it does not contain all the information known by me or other
 3   agents regarding this investigation. All dates and times described are approximate.
 4                            EXPERIENCE AND TRAINING
 5         3.    I have been employed as a United States Border Patrol (USBP) Agent since
 6 2011. I am currently assigned to the El Centro Sector Prosecutions Unit. I am a graduate
 7 of the Basic Border Patrol Training Academy in Artesia, New Mexico.
 8         4.    During my tenure with USBP, I have participated in the investigation of
 9 various alien smuggling organizations involved in the bringing in and transportation of
10 illegal aliens into and within the Southern District of California. Through my training,
11 experience, and conversations with other law enforcement officers experienced in alien
12 smuggling organizations, I have gained a working knowledge of the operational habits
13 of alien smugglers, in particular those who traffic aliens into the United States from
14 Mexico, and those who transport aliens within the Southern District of California once
15 they have entered the United States.
16         5.    I am aware that it is common practice for alien smugglers to work in
17 concert utilizing cellular telephones and portable radios to maintain communications
18 with co-conspirators in order to further their criminal activities. A common tactic for
19 alien smugglers is to communicate with the smuggled aliens regarding smuggling
20 arrangements of payment and travel, as well as with the names, photographs, pick up
21   locations, and phone numbers of co-conspirators and/or other aliens to be smuggled.
22         6.    Based upon my training, experience, and consultations with law
23 enforcement officers experienced in alien smuggling investigations, and all the facts
24 and opinions set forth in this affidavit, I am aware that cellular telephones (including
25 their SIM card(s)) can and often do contain electronic evidence, including, for example,
26 phone logs and contacts, voice and text communications, and data, such as emails, text
27 messages, chats and chat logs from yarious third-party applications, photographs, audio
28 files, videos, and location data. This information can be stored within disks, memory

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 1 cards, deleted data, remnant data, slack space, and temporary or permanent files
 2 contained on or in the cellular telephone. Specifically, searches of cellular telephones
 3 of individuals involved in the smuggling of illegal aliens may yield evidence:
 4               a.    tending to indicate efforts to bring undocumented aliens into the
 5                     United States as well as transport aliens within the United States;
 6               b.    tending to identify accounts, facilities, storage devices, and/or
 7                     services-such as email addresses, IP addresses, and phone numbers-
 8                     used to facilitate efforts to bring undocumented aliens into the
 9                     United States and transport aliens within the United States;
10                C.   tending to identify co-conspirators, criminal associates, or others
11                     involved in bringing undocumented aliens into the United States and
12                     transporting aliens within the United States;
13               d.    tending to identify travel to or presence at locations involved in the
14                     transportation of undocumented aliens, such as stash houses, load
15                     houses, or delivery points;
16               e.    tending to identify the user of, or persons with control over or
17                     access to, the Target Devices; and/or
18               f.    tending to place in context, identify the creator or recipient of, or
19                     establish the time of creation or receipt of communications,
20                     records, or data involved in the activities described above.
21                     FACTS SUPPORTING PROBABLE CAUSE
22        7.     On January 26, 2020, Border Patrol Agents assigned to El Centro Sector
23 Intelligence Unit and the Field Intelligence Team (FIT) were conducting anti-smuggling
24 and intelligence gathering duties within the El Centro Border Patrol Sector's area of
25 responsibility. The agents were dressed in plain clothes and operating unmarked service
26 vehicles.
27        8.      At approximately 6:25 p.m., a dispatch over the radio indicated a 200~
28 Mitsubishi SUV, bearing California license plate number 4RQW880, may be involved

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 1 in alien smuggling and was traveling west on Highway 98, west of Calexico, California.
 2 Agents located the vehicle still traveling west on Highway 98 near Ocotillo, California.
 3         9.     Agents followed the Mitsubishi to a Chevron gas station off state Route 2
 4 in Ocotillo, California. Route 2 is a rural two-lane highway that stretches between
 5 Interstate 8 and Highway 98. Where Route 2 begins at the intersection of Highway 98
 6 is directly north of the United States and Mexico border. These three highways offer
 7 direct egress from the immediate border area and are used by alien smugglers to move
 8 their illicit cargo away from the border.
 9         10.    At the gas station, agents observed a female, later identified as DURAN,
10 exit the driver's side of the Mitsubishi and approach a black Volkswagen Jetta, bearing
11 Arizona license plate number PW12098, and speak to the male driver, later identified
12 as YEPIZ. Both vehicles were parked in the same area of the gas station, and DURAN
13 and YEPIZ spoke with each other while also making phone calls. After a few minutes,
14 YEPIZ walked into the gas station, DURAN returned to the Mitsubishi and entered the
15 front passenger seat. Once YEPIZ returned from the store, he entered the driver seat of
16 the Mitsubishi, drove north on Route 2, and then continued on Interstate 8 heading west.
17         11.    Ultimately, the Mitsubishi exited Interstate 8 and parked at the Golden
18 Acom Casino (the Casino) in Boulevard, California. The Casino is a common staging
19 area for alien smuggling activities in rural eastern San Diego County. Agents continued
20 surveillance of the Mitsubishi, and observed that DURAN remained in the vehicle for
21 over an hour while YEPIZ went in and out of the casino. Eventually, YEPIZ returned
22 to the vehicle, got into the driver's seat, and continued to sit for another half hour.
23         12.    After approximately an hour and a half at the Casino, YEPIZ and DURAN
24 left the area and drove towards Interstate 8 in the Mitsubishi. Agents observed. the
25 Mitsubishi pass the entrance to Interstate 8, park at the cul-de-sac beyond the highway,
26 and tum around facing the freeway entrance. Agents recognized this maneuver as a
27 'heat check'. This tactic is used by aFen smugglers to determine if they are being
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 1 followed by law enforcement or other smugglers. After some time, the Mitsubishi
 2 entered Interstate 8, this time heading east, back towards Ocotillo, California.
 3         13.   The Mitsubishi returned to the same Chevron gas station, and parked by
 4 the Volkswagen. YEPIZ and DURAN exited the Mitsubishi and then opened the hood
 5 of the Volkswagen. After approximately forty-five minutes, YEPIZ closed the hood and
 6 entered the driver seat of the Volkswagen. Agents ran record checks on the Volkswagen
 7 and learned that it had several recent releases of liability with the Department of Motor
 8 Vehicles. Alien smugglers often use vehicles with a release of liability because the
 9 vehicle is in the process of a change of ownership. As such, that status makes it difficult
1O for law enforcement to identify the owner or culpable party should the vehicle be seized
11 in a criminal act.
12         14.   After YEPIZ left the gas station driving the Volkswagen, DURAN
13 returned to the Mitsubishi and followed YEPIZ. Agents watched from a distance and
14 observed that YEPIZ and DURAN were driving east on Highway 98 back towards
15 Calexico, California. Agents followed YEPIZ and DURAN and noticed that both
16 vehicles pulled over to the shoulder near a landmark that agents refer to as
17 "Mcdougal's." This area is commonly used as a pick-up location for load drivers in the
18 area. As agents passed the two vehicles, agents observed one person emerge from the
19 roadside desert and enter the Mitsubishi. Based on their training, experience, and the
20 totality of the circumstances, agents believed that YEPIZ and DURAN were involved
21 in alien smuggling.
22         15.   Agents continued to follow the two vehicles into the city of Calexico. The
23 Mitsubishi turned south on Klove Avenue and parked on the street near an apartment
24 complex. The Volkswagen then parked behind the Mitsubishi and several people got
25 out of the vehicles and began entering different vehicles. The agents decided to make
26 contact, but the Volkswagen left before all the agents were able to move in. As the
27 Volkswagen pulled away, agents followed while the remaining agents moved in on the
28 Mitsubishi.

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 1         16.   Agents approached the driver side of the Mitsubishi and observed several
 2 individuals stacked and crammed inside the SUV while questioning DURAN as to her
 3 citizenship. DURAN stated she was a United States citizen. Agents then ordered the
 4 other individuals out of the vehicle and began questioning them regarding their

 5 citizenship. All ten individuals readily admitted to being citizens of Mexico or Chile,
 6 with no legal status to enter or remain in the United States.

 7         17.    Following the seizure of the Mitsubishi, agents initiated a vehicle stop of
 8 the Volkswagen near the intersection of Ollie Avenue and Roosevelt Street in Calexico.
 9 Agents approached the driver side and asked YEPIZ to state his citizenship. YEPIZ

1O stated he was a citizen of the United States. Agents then observed three male passengers,
11   later identified as Alejandro RIOS-Romero, Jose Alexis RAMIREZ-Deleon, and Brian
12 Rene OCHOA-Ruvalcaba, in the Volkswagen. Agents later determined that all three
13 were illegal aliens from Mexico working as foot guides for this group, all of whom also
14 did not have any legal standing to enter or remain in the United States. Foot guides are
15 commonly used by criminal organizations to smuggle illegal aliens into the United
16 States due to their knowledge of the terrain. Charges were not filed against RAMIREZ
17 and OCHOA in relation to alien smuggling.
18         18.   On January 27, 2020, at approximately 12:20 a.m., YEPIZ and DURAN
19 were placed under arrest for alien smuggling, and Alejandro RIOS-Romero, Jose Alexis
20 RAMIREZ-Deleon, and Brian Rene OCHOA-Ruvalcaba were placed under arrest for
21 illegal entry into the United States. During a search incident to arrest agents seized
22 Target Devices 1 and 2 from YEPIZ, Target Device 3 from DURAN, and Target Device
23 4 from RIOS.
24         19.   Based upon my training and expenence, consultation with other law
25 enforcement officers experienced in alien smuggling investigations, and all of the facts
26 and opinions set forth in this affidavit, I believe that telephone numbers, contact names,
27 electronic mail (email) addresses, appotntment dates, messages, pictures and other
28 digital information are stored in the memory of the Target Devices. In light of the above

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 1 facts and my experience and training, there is probable cause to believe that Defendants
 2 were using their respective Target Devices to communicate with each other and others
 3 to further the smuggling of illegal aliens into and within the United States. Further, in
 4 my training and exp~rience, alien smugglers may be involved in the planning and
 5 coordination of an alien smuggling event in the days and weeks prior to an event. Co-
 6 conspirators are also often unaware of a defendant's arrest and will continue to attempt
 7 to communicate with a defendant after their arrest to determine the whereabouts of the
 8 aliens. Accordingly, I request permission to search the Target Devices for data
 9 beginning on December 27, 2019 through January 27, 2020.
10                                    METHODOLOGY
11         20.   It is not possible to determine, merely by knowing the cellular telephone's
12 make, model and serial number, the nature and types of services to which the device is
13 subscribed and the nature of the data stored on the device. Cellular devices today can
14 be simple cellular telephones and text message devices, can include cameras, can serve
15 as personal digital assistants and have functions such as calendars and full address books
16 and can be mini-computers allowing for electronic mail services, web services and
17 rudimentary word processing. An increasing number of cellular service providers now
18 allow for their subscribers to access their device over the internet and remotely destroy
19 all of the data contained on the device. For that reason, the device may only be powered
20 in a secure environment or, if possible, started in "flight mode" which disables access
21 to the network. Unlike typical computers, many cellular telephones do not have hard
22 drives or hard drive equivalents and store information in volatile memory within the
23 device or in memory cards inserted into the device. Current technology provides some
24 solutions for acquiring some of the data stored in some cellular telephone models using
25 forensic hardware and software. Even if some of the stored information on the device
26 may be acquired forensically, not all of the data subject to seizure may be so acquired.
27 For devices that are not subject to forensic data acquisition or that have potentially
28 relevant data stored that is not subject to such acquisition, the examiner must inspect

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 1 the device manually and record the process and the results using digital photography.
 2 This process is time and labor intensive and may take weeks or longer.
 3         21.     Following the issuance of this warrant, I will collect the Target Devices
 4 and subject them to analysis. All forensic analysis of the data contained within the
 5 telephones and their memory cards will employ search protocols directed exclusively
 6 to the identification and extraction of data within the scope of the warrant.
 7         22.     Based on the foregoing, identifying and extracting data subject to seizure
 8 pursuant to this warrant may require a range of data analysis techniques, including
 9 manual review, and, consequently, may take weeks or months. The personnel
10 conducting the identification and extraction of data will complete the analysis within
11 90 days, absent further application to this court.
12                  PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
13        23.      Law enforcement has not yet attempted to obtain the evidence sought by
14 this warrant.
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 1                                     CONCLUSION
 2         24.   Based on the facts and information set forth above, I submit there is
 3 probable cause to believe that a search of the Target Devices will yield evidence of
 4 YEPIZ, DURAN, and RIOS' violations of Title 8, United States Code, Section 1324
 5 and 1325. Accordingly, I request that the Court issue a warrant authorizing law
 6 enforcement to search the items described in Attachments A-1, A-2, A-3 and A-4, and
 7 seize the items listed in Attachments B-1, B-2, B-3, and B-4 using the above-described

 8 methodology.

 9
           I swear the foregoing is true and correct to the best of my knowledge and belief.
10
11
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                                                      tcs---=-···          >



                                         Agent John Ortiz
13
                                         United States Border Patrol
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16
     Subscribed and sworn to before me this   /.3'f   day of February, 2020.
17
18
19
     Honorable Ruth Bermudez Montenegro
20
     United States Magistrate Judge
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                              ATTACHMENT A-1
                        PROPERTY TO BE SEARCHED

The following property is to be searched:
                         One blue Samsung J7 phone
                         IMEINo:355865104056194
                         Seized from YEPIZ-Fonseca, Christian

Target Device 1, seized in connection with Event No: CAX2001000252, is currently
in the evidence room for El Centro Border Patrol, located at 211 West Aten Road,
Imperial, CA 92251.
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                                   ATTACHMENT B-1
                                  ITEMS TO BE SEIZED

       Authorization to search the cellular telephone described in Attachment A-1 includes
the search of disks, memory cards, deleted data, remnant data, slack space, and temporary
or permanent files contained on or in the cellular telephone for evidence described below.
The seizure and search of the cellular telephone shall follow the search methodology
described in the affidavit submitted in support of the warrant.

       The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from various
third-party applications, photographs, audio files, videos, and location data, for the period
of December 27, 2019 through January 27, 2020:

       a.    tending to indicate efforts to bring undocumented aliens into the United
             States and transport aliens within the United States;

       b.    tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate efforts to bring undocumented aliens into the United States and
             transport aliens within the United States;

       c.    tending to identify co-conspirators, criminal associates, or others
             involved in bringing undocumented aliens into the United States and
             transporting aliens within the United States;

       d.    tending to identify travel to or presence at locations involved in the
             transportation of undocumented aliens, such as stash houses, load
             houses, or delivery points;

      e.     tending to identify the user of, or persons with control over or access
             to, the Target Device; or

       f.    tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records,
             or data involved in the activities described above.


All believed to be evidence of violations of Title 8, United States Code, Sections 1324
and 1325.
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                              ATTACHMENT A-2
                        PROPERTY TO BE SEARCHED

The following property is to be searched:
                         One blue Motorola G7 phone
                         IMEi No: 359527094686507
                         Seized from YEPIZ-Fonseca, Christian

Target Device 2, seized in connection with Event No: CAX2001000252, is currently
in the evidence room for El Centro Border Patrol, located at 211 West Aten Road,
Imperial, CA 92251.
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                                   ATTACHMENT B-2
                                  ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A-2 includes
the search of disks, memory cards, deleted data, remnant data, slack space, and temporary
or permanent files contained on or in the cellular telephone for evidence described below.
The seizure and search of the cellular telephone shall follow the search methodology
described in the affidavit submitted in support of the warrant.

       The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from various
third-party applications, photographs, audio files, videos, and location data, for the period
of December 27, 2019 through January 27, 2020:

       a.   tending to indicate effmts to bring undocumented aliens into the United
            States and transport aliens within the United States;

       b.   tending to identify accounts, facilities, storage devices, and/or services:-
            such as email addresses, IP addresses. and phone numbers-used to
            facilitate efforts to bring undocumented aliens into the United States and
            transport aliens within the United States:

       c.    tending to identify co-conspirators, criminal associates, or others
             involved in bringing undocumented aliens into the United States and
             transporting aliens within the United States;

       d.    tending to identify travel to or presence at locations involved in the
             transportation of undocumented aliens, such as stash houses, load
             houses, or delivery points;

       e.    tending to identify the user ot~ or persons with control over or access
             to, the Target Device; or

       f.    tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records,
             or data involved in the activities described above.


All believed to be evidence of violations of Title 8, United States Code, Sections 1324
and 1325.
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                              ATTACHMENT A-3
                         PROPERTY TO BE SEARCHED

The following property is to be searched:
                         One gold Samsung phone
                         Seized from DURAN-Martinez, Yesenia Jasmine

Target Device 3, seized in connection with Event No: CAx:2001000252, is currently
in the evidence room for El Centro Border Patrol, located at 211 West Aten Road,
Imperial, CA 92251.
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                                   ATTACHMENT B-3
                                  ITEMS TO BE SEIZED

      Authorization to search the cellular telephone described in Attachment A-3 includes
the search of disks, memory cards, deleted data, remnant data, slack space, and temporary
or permanent files contained on or in the cellular telephone for evidence described below.
The seizure and search of the cellular telephone shall follow the search methodology
described in the affidavit submitted in support of the warrant.

      The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from various
third-party applications, photographs, audio files, videos, and location data, for the period
of December 27, 2019 through January 27, 2020:

       a.    tending to indicate efforts to bring undocumented aliens into the United
             States and transport aliens within the United States;

       b.    tending to identify accounts, facilities, storage devices, and/or services-
             such as email addresses, IP addresses, and phone numbers-used to
             facilitate efforts to bring undocumented aliens into the United States and
             transport aliens within the United States;

       c.    tending to identify co-conspirators, criminal associates, or others
             involved in bringing undocumented aliens into the United States and
             transporting aliens within the United States;

       d.    tending to identify travel to or presence at locations involved in the
             transportation of undocumented aliens, such as stash houses, load
             houses, or delivery points;

       e.    tending to identify the user of, or persons with control over or access
             to, the Target Device; or

       f.    tending to place in context, identify the creator or recipient of, or
             establish the time of creation or receipt of communications, records,
             or data involved in the activities described above.


All believed to be evidence of violations of Title 8, United States Code, Sections 1324
and 1325.
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                              ATTACHMENT A-4
                        PROPERTY TO BE SEARCHED

The following prope1ty is to be searched:
                         One black MotorolaXT1921-3
                         IMEINo:351841092832957
                         Seized from RIOS-Romero, Alejandro

Target Device 4, seized in connection with Event No: CAX2001000252, is currently
in the evidence room for El Centro Border Patrol, located at 211 West Aten Road,
Imperial, CA 92251.
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                                    ATTACHMENT B-4
                                   ITEMS TO BE SEIZED

       Authorization to search the cellular telephone described in Attachment A-4 includes
the search of disks, memory cards, deleted data, remnant data, slack space, and temporary
or permanent files contained on or in the cellular telephone for evidence described below.
The seizure and search of the cellular telephone shall follow the search methodology
described in the affidavit submitted in support of the warrant.

       The evidence to be seized from the cellular telephone will be electronic records,
communications, and data such as emails, text messages, chats and chat logs from various
  third-party applications, photographs, audio files, videos, and location data, for the period
. of December 27, 2019 through January 27, 2020:

        a.    tending to indicate efforts to bring undocumented aliens into the United
              States and transport aliens within the United States;

        b.    tending to identify accounts, facilities, storage devices, and/or services-
              such as email addresses, IP addresses, and phone numbers-used to
              facilitate efforts to bring undocumented aliens into the United States and
              transp01i aliens within the United States;

        c.    tending to identify co-conspirators, criminal associates, or others
              involved in bringing undocumented aliens into the United States and
              transporting aliens within the United States;

        d.    tending to identify travel to or presence at locations involved in the
              transp01iation of undocumented aliens, such as stash houses, load
              houses, or delivery points;

        e.    tending to identify the user ot or persons with control over or access
              to, the Target Device; or

        f.    tending to place in context, identify the creator or recipient of, or
              establish the time of creation or receipt of communications, records,
              or data involved in the activities described above.


 All believed to be evidence of violations of Title 8, United States Code, Sections 1324
 and 1325.
